            IN THE DISTRICT COURT OF THE UNITED STATES
           FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                         ASHEVILLE DIVISION

                     CRIMINAL CASE NO. 1:09cr13-15


UNITED STATES OF AMERICA, )
                            )
                            )
             vs.            )                  ORDER
                            )
                            )
ERIN MARIE RENISON.         )
                          )



     THIS MATTER is before the Court on the Government’s Rule 35

Motion [Doc. 524].

     The Court finds, for the reasons stated in the motion, that it should be

granted.

     IT IS, THEREFORE, ORDERED that the Defendant’s sentence is

hereby reduced to a term of sixty-three (63) months imprisonment with all

other terms and provisions of the Judgment of Conviction in a Criminal

Case [Doc. 309] to remain the same.

     The Clerk of Court is instructed to provide a copy of this Order to the

United States Attorney General and the Bureau of Prisons.




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                                 Signed: June 11, 2010




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